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FILED

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff,
¥:
IZABELLA MARIE BOLING,
a/k/a "Turbo,"

Defendant.

JAN 3 2023

Mark C. McCartt, Clerk
Case No. 22-CR-115-JFH U-S. DISTRICT COURT

INFORMATION

[21 U.S.C. §§ 841(a)(1) and
841(b)(1)(B)(viii) — Possession of
Methamphetamine with Intent to
Distribute]

THE UNITED STATES ATTORNEY CHARGES:

From in or about September 2021 to in or about October 2021, in the Northern

District of Oklahoma, the defendant, IZABELLA MARIE BOLING, a/k/a

“Turbo,” knowingly and intentionally possessed with intent to distribute 50 grams or

more or of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B)(viii).

CLINTON J. JOHNSON
United States Attorney

Ss.

DAVID A. NASAR\
Assistant United States Attorney

